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                  EXHIBIT J
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1    Call Date:    2018-10-02

2    Call Duration:      15:29

3    Call Begin [       ] Call End [       ]

4    Call Participants:

5

6        Rick Singer

7    File Name:            8802 2018-10-02 12-22-52 09363-001

8    Bates No.:

9

10   [00:00:00]

11   SINGER:    Hello?

12         :    Hi.    Is this Rick?

13   SINGER:    Yes, sir.

14         :    Hey, Rick.       This is             , callin’ you from

15                 .    We’ve, uh, exchanged a bunch of emails the last

16       few days.

17   SINGER:    Yes, sir.    How was your trip home?

18         :    Um, it was pretty smooth, I guess.       Uh, not too

19       troublesome.      How’s everything with you?

20   SINGER:    Very good, sir.        Sir, do you live in Boca?

21         :    Yeah.

22   SINGER:    OK.

23         :    I, uh, moved down here from                   a few years

24       ago.     Uh, is this a good time to take a few minutes?
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1    SINGER:   Sure.   Sure.    Go ahead, sir.

2          :   OK.

3    SINGER:   Yes.

4          :   All right.    Um, g-- (inaudible) just 2 seconds, all

5        right?    Just 2 seconds.     (pause) Anyway, I just thought

6        I’d reach out to you ’cause we were havin’ such a hard

7        time connectin’.       Um, I guess, uh, Gordon Caplan -- I, I

8        used to live in                and, uh, moved down here a few

9        years ago, and so he and his wife are, uh, are, are very

10       friendly with me and my wife, and he --

11   SINGER:   Terrific.

12         :   -- put me in touch with you.

13   SINGER:   Terrific.

14         :   And, um, [00:01:00] we have a, a daughter who’s a

15       senior in high school, and in the process of applyin’ to

16       colleges.     And --

17   SINGER:   OK.

18         :   -- she’s lookin’ at a wide range but sort of

19       startin’ to narrow it down.       And I was askin’ Gordon, you

20       know, uh, if -- what he knew about what I can do to

21       sorta, you know, help my daughter’s cause a little bit,

22       and, uh, he suggested I connect with you.          He wasn’t

23       terribly specific about it, but, (laughs) you know, it

24       was kinda one of those, “I know him very well and speak
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1        very frankly with him.”          And I said, you know, “My

2        daughter’s shootin’ pretty high, and I’d love to see her

3        get into one of these schools, and if -- I wish I could

4        figure out how to help the cause a little.”           And he said,

5        “I know someone, you know, you oughtta talk to, just tell

6        him what’s on your mind, and, uh, and maybe he could be

7        helpful to you.”       He didn’t explain very much, um...         He

8        didn’t tell me much about your background or, you know,

9        how all this comes together, but he told me, um, he’s had

10       some dealings with you and, and suggested we connect.

11       Uh, does all that make sense?

12   SINGER:     OK.     Yep, that all makes sense.    It’s terrific.      So

13       tell me a little bit about your daughter -- grades,

14       scores, [00:02:00] what her aspirations are -- and then I

15       can explain kinda how the process may or may not work.

16         :     OK.     So, um, (clears throat) she goes to a school

17       called                  down here --

18   SINGER:     OK, I know it very well.

19         :     -- in              .

20   SINGER:     Yeah.

21         :     OK.     Good reputation and all that.     Um, she’s a

22       pretty solid student.          She’s, uh, got a      GPA.   She’s

23       got a         on the ACT, which is OK but not spectacular.

24       Um, she’s -- her big thing is running.            She’s a, a pretty
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1        competitive runner.      Her, um -- you know, we’ve

2        researched it some.      Her times are, uh, in cross country

3        and l-- and middle-distance track -- but cross country

4        being the stronger of the 2 -- she’s, um, w-what -- and

5

6                                                or however that works,

7        so, you know, uh, uh, she’s part of a very strong

8        program.    However, you know --

9    SINGER:   (overlapping dialogue; inaudible) mile time?

10         :   Uh, I’m sorry, I couldn’t hear you there.

11   SINGER:   What’s her 3-mile time?

12         :   Yeah, so -- yeah, her 5K is, uh,

13       And, you know, we’ve researched it quite a bit, and where

14       that shakes out is for the real strong D1 schools she’d

15       be a stretch, but for the D3 schools she’s very

16       competitive, you know.      Um, so --

17   SINGER:   (overlapping dialogue; inaudible) --

18        :    -- kinda just figured out...       (inaudible)?

19   SINGER:   I said relatively.

20         :   Yeah, so, you know, um, she’s reached out to a bunch

21       of the coaches and all that kind of thing.          Um, you know,

22       we’ve been told -- I don’t know how much -- you know, m-

23       my wife is, uh,               and so my daughter character--

24       you know, I guess, is, is categorized as                  .   You
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1        know, maybe that helps to some degree.         I, I don’t know

2        enough about it.     Um, but the bottom line is, uh, she has

3        narrowed down to a couple of schools.         In part-- uh, in

4        particular, one is Washington University.          And, um, she’s

5        actually up at, uh, Cornell, uh, with my wife right now,

6        um, which, uh, Coach (inaudible) Gordon went, as you

7        probably know.     And she’s gonna be applying early

8        decision, I guess, in just about a month.          And so, um,

9        [00:04:00] you know, her times are good but not

10       necessarily gonna cause the coach to pound the table on

11       her behalf, you know.       Um --

12   SINGER:     Right.

13         :     -- her GPA is solid.    Uh, her ACT is OK.     Uh, you

14       know, altogether I think she has a good application but

15       she doesn’t have a kind of application where -- you know,

16       we’re not applyin’ to, you know, Harvard and Stanford and

17       Yale.    You know, um, schools like Cornell and Wash U are,

18       are probably -- I-I don’t know, I’m, I’m being told, you

19       know -- slight stretches, but not ridiculous.          And so

20       that’s kind of the category we’re in, and that’s what got

21       to my conversation with Gordon, which, which --

22   SINGER:     Got it.

23         :     -- leads us here.

24   SINGER:     Got it.   So does she have subject tests (inaudible)?
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1          :   No, she’s, um -- I think she’s kind of steered her,

2        her, uh, uh, game plan around not having to take them.             I

3        guess at Cornell there’s different schools, and some you

4        need ’em and some you don’t, and, uh, I forget the

5        specifics of all that, but, um, she was tryin’ to not do

6        the subject tests.

7    SINGER:   And the reason why they have the subject tests,

8        [00:05:00]         , is because her grades are inflated, and

9        --

10         :   Right.

11   SINGER:   -- so that’s why they, they use the subject tests,

12       and that’s why...      You have 3 schools of kids that apply:

13       you have kids with SATs with subject tests, ACTs with

14       subject tests, and ACTs without.        So usually the kids who

15       are without, um, there’s a reason for it, and you

16       already, you know, stated it, that she probably wouldn’t

17       perform exceptionally well on ’em.        So (inaudible).     So

18       that makes it a little more difficult in admissions --

19         :   Mm.

20   SINGER:   -- um, especially when you have a          on the ACT,

21       which is -- which is, for Wash U, very low, and --

22         :   Right.

23   SINGER:   -- Cornell very low, um, unless you’re gonna apply

24       as an in-state resident, and/or the School of Ag.           Um, so
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1        back to your point, um, Wash U, great school.          Best

2        option of getting is to apply ED, no doubt [00:06:00]

3        about it.    Um, I would say that without some sort of help

4        at Cornell, um, she’s probably not gettin’ in, either.

5        She’ll probably get deferred.        Um, and she can’t -- and

6        she’s not strong enough to run in the Ivies, ’cause that

7        -- that’s not a very fast time.        So, so the way -- the

8        way...    And, and, again, I don’t know if I can do this at

9        this point, because it’s pretty late in the --

10         :   Mm.

11   SINGER:   -- process, and Wash U will tell you that they

12       really, um...     They help their student athletes, but they

13       c-- they, they don’t make any guarantees, um, that kids

14       can get in.     But what we can do, if you want to, um,

15       attempt to try to do this, is I can call, you know, those

16       schools, or other schools, and see if they are willing

17       to, [00:07:00] um, create a side door through athletics

18       whereupon your daughter is com-- is relatively

19       competitive from a running perspective, and could be a

20       recruit-- you know, could be a walk-on --

21         :   Right, (inaudible).

22   SINGER:   -- um, and then the, the program and the school

23       would help her with admissions, um, and you’d make a

24       donation to, um, to the coach, um -- I mean, to the
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1        program and the coach, essentially, because they need

2        help.

3          :     Hmm.

4    SINGER:     Um, and, you know, that donation is gonna range

5        from, uh, from every school to be very different.           You

6        know, uh, a Cornell, it’s probably over $1,000,000; a

7        Wash U is $500,000 to $1,000,000, if that can be done.

8        So that would be the process.        Um, and then you’d apply

9        early, they would flag her as a [00:08:00] student

10       athlete, which she is, uh, but she may not be at the

11       level in which, um, she’d be a recruitable student

12       athlete.       They would help her and support her, ’cause

13       you’re giving some support, um, to the pro-- to, to the

14       coach.

15         :     Mm-hmm.

16   SINGER:     Um, so that’s kinda how it may or may not work at

17       this point, uh, because, you know, we’re a month away,

18       and, um, some of those spots are given away.          But there

19       is a possibility that I can get engaged in that and see

20       if it’s possible.

21         :     OK, well, I appreciate that.     So, make sure I

22       understand what you’re sayin’ -- and I, I get what you’re

23       sayin’ about the times.       I think we’ve figured out that

24       wherever she goes she would be a walk-on, but at Wash U
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1         she could sorta definitely walk on and be one of the

2         decent runners on the team.       At Cornell, she could

3         probably walk on and maybe, you know, not be quite middle

4         of the pack but just below, um, and it’s a little bit

5         more of a stretch, but it, like, you know -- other places

6         we’ve looked at, like, you know, Tufts and Chicago, her

7         times are very good.      [00:09:00] She just doesn’t like

8         those schools, as much.      And Duke and --

9    SINGER:    Sure.

10         :    -- UVA and Vandy, you know, forget it.        I mean, the

11        times are, you know, a good --

12   SINGER:    Right.

13         :    -- (inaudible) lower, you know?

14   SINGER:    Right.

15         :    So we, we get all that.      Um, the thing with the

16        subject tests, just (inaudible) -- my understanding from

17        her, at least how she ar-- expressed it to me, is more

18        “I’m too busy, I don’t want to study for more tests,” and

19        if what you’re sayin’ is maybe part of it was she was

20        fearing the scores she’d put out, that could be, too.             I

21        just -- uh, not to my knowledge, but I --

22   SINGER:    Yeah, my --

23         :    -- understand what you’re sayin’.
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1    SINGER:    -- my, my guess -- my guess, that’s the case,

2         normally.     Um --

3          :    Mm.

4    SINGER:    -- it’s not just...     Because those tests -- like,

5         she could take the math and the literature test, and

6         she’s already in math right now, and the literature test

7         is just reading comprehension, poems and, uh, regular

8         reading passages.      So, um, you know, the-they’re very

9         difficult.     Uh, they’re, they’re not easy, and they’re --

10         :    Right.

11   SINGER:    -- meant to be difficult, to be able to align with

12        grades and scores.      So we are where we are, right?

13         :    Right.

14   SINGER:    Um, and (inaudible) -- you know, this is -- this is

15        [00:10:00] where you gotta go.       So, um, again, this may

16        be a pathway to go where I try to create a, a side door

17        for you, um --

18         :    Mm-hmm.

19   SINGER:    -- through athletics.      Um, but there will be a

20        donation to the coach, uh --

21         :    Sure.

22   SINGER:    -- who is -- who is gonna provide the help of

23        getting her in.       Um, and, again, I -- you tell me, hey,

24        let’s move forward and let me go and do some checking, I
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1         could do that and get back to you, but at this point, um,

2         it’s kinda -- the ball’s in your court.

3          :      So let me...    OK, but let me make sure I just

4         understand what you’re sayin’.       So when you say a side

5         door, I, I understand how a donation will help the cause.

6         When you say a donation to the coach, you’re talkin’

7         about a donation in connection with playing sort of the,

8         the athletic card?

9    SINGER:      Yeah, that’s correct.

10         :      All right, so, in other words, a donation straight

11        to the development folks doesn’t get their attention as

12        much?

13   SINGER:      Um, well, the problem is, um, you could go to the

14        development, but development, [00:11:00] um -- and that’s

15        an option; there’s no doubt about it -- development won’t

16        give you -- w-- um, is just gonna be able to provide a

17        asterisk for you, that this is a family who is a

18        potential giver, right?      And that may or may not work.

19        The problem is, is that wealthy folks like you, um -- and

20        not sayin’ that you wouldn’t do this -- they get some

21        help and then they don’t support, right?         Because at the

22        end of the day, there’s no link to -- there’s no

23        guarantor there.       So that’s why -- what they do is

24        they’ll, um, they’ll figure out who you are, what you’ve
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1         done in the past, how -- what your giving patterns are,

2         and then they will, um, decide if they can be of some

3         help.    So they will go to folks and ask them if they can

4         get support.     Usually, your donation in that particular

5         scenario is going to be, um, through the 5X of what I

6         just talked about.

7          :      [00:12:00] You mean if you just go flat out to

8         development as opposed to through the coach?

9    SINGER:      That’s correct.

10         :      Through the 5X because you’re not making use of the

11        athletic angle.

12   SINGER:      Where the athletic angle has a potential spot that

13        they get to use, right?

14         :      Right.

15   SINGER:      Because there’s recruitable athletes.

16         :      Right.

17   SINGER:      Um, she’s not gonna be a --

18         :      What if she --

19   SINGER:      Go ahead, I’m sorry.

20         :      I’m sorry, but what did you mean by donation to the

21        coach?

22   SINGER:      Um, essentially, um, that donation is going to the -

23        - you know, to the program, and --

24         :      Right.
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1    SINGER:    -- essentially, the coach is using up one of his

2         spots --

3          :    I see.

4    SINGER:    -- um, for that, if, if they have a spot.         Or they

5         may go and if they’ve used up their spots they may write

6         a letter of support for that student athlete because this

7         is somebody they got late who they think would be an

8         attractive candidate, um, to the team and to the school.

9          :    I see.   So, in other words, you make a donation that

10        helps for, like, I don’t know, the, the, the training

11        facilities or [00:13:00] what have you, but it’s specific

12        to the program.

13   SINGER:    That is correct, yes, sir.

14         :    Understood.    OK.   Um, I, I think I’ve got it.      And

15        are you sayin’ that, um, your understanding is this is

16        generally pretty doable, taking into account it might be

17        too late, or you’d be just exploring whether it’s, you

18        know, even a possibility at those 2 schools?

19   SINGER:    Oh, they’re always -- they’re always doable.         If you

20        had called me 3 months ago, I -- this would’ve already

21        been done.

22         :    Oh, shit --

23   SINGER:    Um --

24         :    -- I didn’t realize.
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1    SINGER:    Right?   Because, you see, again, everybody who’s

2         recruiting kids and getting their spots, um, have already

3         made their offers or talked to the kids over the summer,

4         so now, you know, to the coach -- I’m a coach at X

5         university; I gotta get --

6          :    Right.

7    SINGER:    -- my kids, right?     And I gotta get ’em to --

8          :    Right.

9    SINGER:    -- apply early, so, you know, we’re in that mix.

10        So, to be frank with you, I don’t know.         Um, all I can do

11        is go forward and, and make some inquiries, uh --

12         :    OK.

13   SINGER:    -- but you have to be willing to make that kind of

14        commitment, um, [00:14:00] if they were to say “Let’s go

15        forward.”

16         :    Sure, understood.     And, um, just generally speaking,

17        do you know if one of the 2 schools is generally more

18        amenable than the other in, in this scenario?

19   SINGER:    Um, you know, frankly, I don’t know, because here’s

20        what you’re dealing with:      in those -- in, in the cross

21        country and then -- we’re talkin’ track and field, ’cause

22        then they flip over, usually --

23         :    Right.
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1    SINGER:    -- um, it could be the same coach.        It could be

2         different coaches but all the same staff when it gets to

3         c-- when it gets to track.       So, um -- and there may be

4         more play in the track side than there is the cross

5         country side.     Um, frankly, I, I, I have no idea at this

6         point.

7          :    Gotcha.    All right, all right.     Um, well, look, I

8         appreciate the feedback, uh, quite a bit.         My wife and

9         daughter will be back tonight from Cornell, and we’re

10        gonna have a sit down, and I wanna see if she can, uh,

11        you know, lock down on one, and then what I’m gonna do is

12        call you back and, uh, you know, we’ll take a run at this

13        and, you know, [00:15:00] see if there’s, uh, an angle

14        for us.    Uh, but obviously I gotta tell ya which school,

15        right?    So, um...    Does that make sense, if we just leave

16        it that way?

17   SINGER:    Yes, sir.

18         :    I’ll get back to you within a day or 2?

19   SINGER:    Yes, sir.

20         :    All right.      Well, look, I really appreciate the

21        feedback on all this.      So, um, I’ll get back to you as

22        soon as I can.     Is that cool?

23   SINGER:    Appreciate it.      Have a great day, sir.

24         :    Uh, uh, thanks so much.      You, too.
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1   SINGER:    All right, bye-bye.

2         :    All right, take care.     Bye-bye.

3   SINGER:    Bye-bye.

4         :    Hello?   Hey, (inaudible), how are ya?

5   [00:15:29]

6

7                             END OF AUDIO FILE
